Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 1 of 8




                                                   EXHIBIT 1
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 2 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 3 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 4 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 5 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 6 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 7 of 8
Case 3:22-cv-00534-JWD-EWD   Document 1-3   08/05/22 Page 8 of 8
